   Case 2:10-md-02179-CJB-DPC Document 3811-3 Filed 08/25/11 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater             )   MDL No. 2179
Horizon” in the Gulf of Mexico, on April 20,           )
2010                                                   )   SECTION: J
                                                       )
                                                       )
                                                       )
This Document Relates to:                              )   Judge Barbier
Case No. 2:11-cv-01806                                 )   Mag. Judge Shushan
                                                       )




                                 CERTIFICATE OF SERVICE



       I hereby certify that the Notice of Motion to Remand and Memorandum in Support of

Motion for Remand [Docket No. 3811] have been served on All Counsel by electronically

uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and

that the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using the CM/ECF System, which will send a

notice of electronic filing in accordance with the procedures established in MDL 2179, on this

25th day of August, 2011.


                                                                                 s/ Max Folkenflik


                                                                                    Max Folkenflik
